Case 2:24-cr-00013-MKD   ECF No. 1   filed 01/17/24   PageID.1 Page 1 of 5




                                          2:24-CR-13-SAB
Case 2:24-cr-00013-MKD   ECF No. 1   filed 01/17/24   PageID.2 Page 2 of 5
Case 2:24-cr-00013-MKD   ECF No. 1   filed 01/17/24   PageID.3 Page 3 of 5
Case 2:24-cr-00013-MKD   ECF No. 1   filed 01/17/24   PageID.4 Page 4 of 5
Case 2:24-cr-00013-MKD   ECF No. 1   filed 01/17/24   PageID.5 Page 5 of 5
